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FOR THE WESTERN DisTRicT oF TENNESSEE 05 JUl_ -7 _AH 8= 56
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UN|TED STATES OF AMER|CA,
P|aintiff,

VS. CR. NO. 02-20499-B

VClPHER TECHNOLOG|ES,

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on June 23, 2005. At that time counsel for
the government requested a continuance of the July 5, 2005 trial date due to the
defendant’s fugitive status.

The Court granted the request and reset the trial date to August 1, 2005 With a

report date of Monday, Ju|y 25, 2005, at 9:30 a.m., in Courtroom 1. 11th Floor ofthe

Federa| Building, l\/lemphis, TN.

 

The period from July 15, 2005 through August 12, 2005 is excludable under 18
U.S.C. § 3161(h)(1)(A) and (B) because the defendants are either absent or unavailable
and their presence cannot be deter 'ned or obtained by due diligence

|T |S SO ORDERED this L day Of u|y, 2005.

 

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This notice confirms a copy of the document docketed as number 9 in
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Linda N. Harris

U.S. ATTORNEY'S OFFICE
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Honorable J. Breen
US DISTRICT COURT

